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               IN THE UNITED            STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                    AUGUSTA DIVISION


BRUKS ROCKWOOD,          LLC,                    *

      Plaintiff,                                 *

             v.                                  *               CV   114-234
                                                 *


FMW INDUSTRIEANLAGENBAU GMBH;                    *
INTERNATIONAL       INDUSTRIAL                   *
TECHNOLOGIES, INC.;             and WALTER       *
D. LAMPP, III,                                   *
                                                 *


      Defendants.                                *



                                           ORDER




      Presently          before     the     Court     is    Plaintiff,     International

Industrial        Technologies,          Inc.    ("IIT"),     and     Walter    D.    Lampp,

Ill's ("Lampp") Stipulated Dismissal with Prejudice.                            (Doc. 21.)

As   the parties          have    reached       settlement     in   this   matter,      they

request dismissal of Plaintiff's claims with prejudice pursuant

to   Federal      Rule    of    Civil    Procedure     41 (a) (1) (A) (ii) , as      well    as

entry of a consent judgment.

      Pursuant to these parties' Consent Final Judgment                           (Doc. 21-

1) and upon review of the Complaint, the Court FINDS:

      1.     it has subject matter and personal jurisdiction over
             Plaintiff,          IIT,    and Lampp;

      2.     Venue is proper in this Court;

      3.       Plaintiff        is the owner of United                States   Patent       No.
               8,177,053        (the "053 Patent");

      4.       IIT and Lampp, individually and jointly, acknowledge,
               and this Court accepts such acknowledgement, that the
               053 Patent is valid and enforceable;
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        5.      Plaintiff and IIT and Lampp have entered into a
                confidential    settlement     agreement     ("Settlement
                Agreement")  resolving,   inter   alia,  all   claims  by
                Plaintiff against IIT and Lampp in the above-captioned
                suit;


        6.      The       Settlement     Agreement          includes      mutual   releases     and
                covenants          not   to    sue   in     which   Plaintiff      has    released
                IIT and Lampp from any and all claims, obligations and
                liability   to   Plaintiff   relating  to  claims   of
                infringement of the 053 Patent; and

        7.      The Court retains jurisdiction over Plaintiff,  IIT,
                and Lampp for purposes of enforcing the terms of the
                Settlement Agreement executed by these parties.

        IT     IS     FURTHERED       ORDERED        that    Plaintiff's       claims      against

Defendants           IIT    and     Lampp      are   DISMISSED       WITH    PREJUDICE.          The

Clerk        SHALL        TERMINATE      IIT     and      Lampp     as    defendants      in   this

action,       as well as all deadlines and motions pertaining to them.

        As      all        claims     against        all     defendants       have       now   been

resolved,           the    Clerk    SHALL      CLOSE      this    case.     Each     party     shall

bear its       own costs       and fees.

        ORDER ENTERED at Augusta, Georgia, this J?^^ day of June,
2015.




                                                            HONORAELETJ. -'RANDAL HALL
                                                            UNITED^STATES DISTRICT JUDGE
                                                                  1ERN DISTRICT OF GEORGIA
